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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,

              Plaintiff,

              v.                                        Case No. 04-20115-JWL-20

 NORMA J. RENTERIA,

            Defendant.
 ______________________________________


                            MEMO RANDUM AND ORDER

        Defendant Norma J. Renteria was convicted of conspiracy to possess with intent to

 distribute controlled substances and use of a communication facility to facilitate a drug

 trafficking crime. The court sentenced her to ten years imprisonment. She subsequently

 filed, via new counsel, a Motion to Alter or Amend Judgment Pursuant to Rule 59(e) (doc.

 # 539). In a Memorandum and Order dated October 3, 2006, the court granted the motion

 to the extent that Ms. Renteria requested an opportunity to present further briefing and

 evidence in support of her position. The court has now reviewed the supplemental briefs

 submitted by the parties since then. For the reasons explained below, Ms. Renteria’s motion

 is denied.

        In the court’s prior Memorandum and Order, the court rejected the government’s

 argument that “Rule 59(e) of the Federal Rules of Civil Procedure does not apply to this

 criminal matter.” (Govt.’s Resp. to Def.’s Mot. (doc. #568), at 1.) In doing so, the court
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 observed that Rule 59(e) technically does not apply to a criminal matter; that federal courts

 nevertheless recognize motions to reconsider pursuant to the common law doctrine

 recognized in United States v. Healy, 376 U.S. 75 (1964); that this court recognizes a motion

 to reconsider filed within the time for filing a notice of appeal, as was the case here; and that

 such a motion is essentially treated the same as a motion to alter or amend a judgment in the

 civil context under Rule 59(e). Such a motion must be based on (1) an intervening change

 in controlling law, (2) the availability of new evidence, or (3) the need to correct clear error

 or prevent manifest injustice. Servants of Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir.

 2000). Thus, a motion for reconsideration is appropriate where the court has misapprehended

 the facts, a party’s position, or the controlling law. Id. It is not appropriate to revisit issues

 already addressed or advance arguments that could have been raised previously. Id.

        In this case, Ms. Renteria has not shown that she is entitled to relief under this legal

 standard. She contends that reconsideration is necessary to correct clear error or prevent

 manifest injustice. Yet, notwithstanding the fact that the court gave Ms. Renteria an

 opportunity to submit additional briefing showing she is entitled to relief, her supplemental

 brief presents nothing more than the attorney argument already set forth in her original

 motion. Again, she contends that because of language barriers she did not fully understand

 what was happening or what was at stake in the sentencing process. She contends that her

 lack of understanding kept her from presenting evidence and argument that might have made

 a difference in the outcome of her sentence, specifically, in whether she would have qualified



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 for “safety valve” treatment under the Guidelines. The court finds Ms. Renteria’s arguments

 to be without merit for at least two reasons.

        First, Ms. Renteria has presented no evidence, by affidavit or otherwise, to support

 counsel’s bare allegations. In the court’s first Memorandum and Order on Ms. Renteria’s

 motion to reconsider, the court stated that it was granting the motion to the extent that Ms.

 Renteria requested “an opportunity to present further briefing and evidence in support of her

 position.” (Mem. & Order (doc. #604), at 3 (emphasis added).) Notwithstanding the fact

 that the court gave Ms. Renteria the opportunity to present additional evidence, she still has

 not submitted an affidavit or sworn declaration providing under oath the substance of what

 she would testify to if she were granted a hearing. Thus, the evidentiary record still consists

 only of the evidence presented at the sentencing hearing. The court already found that

 evidence insufficient to entitle Ms. Renteria to a lower sentence and the court will not revisit

 that decision based on an unchanged evidentiary record.

        Second, the court finds the arguments advanced by Ms. Renteria’s counsel to be flatly

 contradicted by the evidentiary record from the sentencing hearing. The court has reviewed

 the transcript from the sentencing hearing and finds the government’s overall

 characterization of that evidence to be accurate. Ms. Renteria’s argument that language

 barriers prevented her from understanding the sentencing process is belied by the record.

 Ms. Renteria testified under oath at the sentencing hearing that she understood the

 importance of telling the court about her entire involvement in the case. After hearing Ms.



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 Renteria’s testimony and the testimony of one of the agents who had worked on the

 investigation, the court found that Ms. Renteria was not forthcoming, that the court did not

 believe she told the truth, and that the court did not believe she had told the government all

 of the information and evidence she had concerning the offense or offenses that were part

 of the same course of conduct or common scheme or plan. All the while, Spanish/English

 interpreters were providing interpreting services for Ms. Renteria. When Ms. Renteria was

 given the opportunity to address the court, she made no suggestion that she did not

 understand what had transpired that day.          She was represented by competent and

 conscientious counsel. The court has no reason to believe that her attorney did not inform

 her about the relevant nuances of the sentencing process. In sum, at no time did Ms.

 Renteria, the interpreter, or her attorney express any concern about Ms. Renteria not being

 able to understand the sentencing process because of language barriers. Consequently, the

 court believes that Ms. Renteria, having received a sentence approximately three times that

 which she likely would have received if the court had found that she qualified for the safety

 valve reduction, is simply seeking another opportunity to present a stronger case at a second

 sentencing hearing. A motion to reconsider cannot be used to give Ms. Renteria a second

 bite at the apple.

        Lastly, the court wishes to acknowledge that, in retrospect, the court now realizes it

 should have construed Ms. Renteria’s motion as a motion to modify her sentence pursuant

 to 18 U.S.C. § 3582(c). When the court previously set forth the motion for reconsideration



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 standard in its prior Memorandum and Order, it did so because it was rejecting the

 government’s categorical argument that reconsideration standards do not apply to a criminal

 proceeding. More accurately, although reconsideration standards generally apply to this

 criminal proceeding pursuant to the court’s inherent authority under Healy, those standards

 do not apply to the court’s sentencing determination. United States v. Dando, 287 F.3d 1007,

 1009 (10th Cir. 2002) (district court does not have inherent authority to modify a sentence);

 United States v. Mendoza, 118 F.3d 707, 709 (10th Cir. 1997) (same). The court may modify

 a previously imposed sentence only in specified instances where Congress has expressly

 granted the court jurisdiction to do so. United States v. Bodonie, 413 F.3d 1126, 1129 (10th

 Cir. 2005). Here, the only potential statutory avenue of relief for Ms. Renteria is 18 U.S.C.

 § 3582(c), which permits modification of a sentence only in extremely limited circumstances.

 Specifically, it permits modification on motion of the Director of the Bureau of Prisons or

 in cases where the applicable sentencing range has subsequently been lowered by the

 Sentencing Commission, id. § 3582(c)(1)(A), (2), both of which are inapposite here.

 Additionally, § 3582(c) permits modification to the extent allowed under Rule 35 of the

 Federal Rules of Criminal Procedure. Id. § 3582(c)(1)(B). Rule 35 allows modification for

 substantial assistance on the government’s motion, see Rule 35(b), which also does not apply

 here. Rule 35 also allows the court to correct clear error, but only within seven days after

 sentencing. Id. Rule 35(a). Ms. Renteria filed the current motion more than seven days after

 sentencing and therefore the court is without jurisdiction to consider the motion under Rule



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 35(a). See United States v. Green, 405 F.3d 1180, 1185-86 (10th Cir. 2005) (seven-day time

 limit imposed by Rule 35(a) is jurisdictional). Because none of the circumstances set forth

 in § 3582(c) apply to this case, then, Ms. Renteria is not entitled to relief.




        IT IS THEREFORE ORDERED BY THE COURT that defendant Norma

 Renteria’s Motion to Alter or Amend Judgment Pursuant to Rule 59(e) (doc. #539) is denied.




        IT IS SO ORDERED this 8th day of December, 2006.




                                                    s/ John W. Lungstrum
                                                    John W. Lungstrum
                                                    United States District Judge




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